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                                                              EASTERN DISTRICT A.RAANSAS

                                                                                   MAY 2 8 2020
                            IN THE UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF ARKANSASAMES W. ~ C K , CLERK
                                      CENTRAL DIVISION      By:----"'c:;~- DEP CLERK



      VICKI CAUSEY and ALESHA ARNOLD,                                                  PLAINTIFFS
      Each Individually and on Behalf
      of All Others Similarly Situated


      vs.                                     No. 4:20-cv- 687-DPM


      BANKOZK                                                                          DEFENDANT


                         ORIGINAL COMPLAINT-COLLECTIVE ACTION


             COME NOW Plaintiffs Vicki Causey and Alesha Arnold (collectively "Plaintiffs"),

      each individually and on behalf of all others similarly situated, by and through their

      attorneys Daniel Ford and Josh Sanford of Sanford Law Firm, PLLC, and for their Original

      Complaint-Collective Action ("Complaint") against Defendant Bank OZK ("Defendant"),

      they state and allege as follows:

                                 I.        PRELIMINARY STATEMENTS

             1.     Plaintiffs, each individually and on behalf of all others similarly situated,

      bring this action under the Fair Labor Standards Act, 29 U.S.C. § 201, et seq. ("FLSA")

      and the Arkansas Minimum Wage Act, Ark. Code Ann.§ 11-4-201, et seq. ("AMWA"), for

      declaratory judgment, monetary damages, liquidated damages, prejudgment interest,

      and costs, including reasonable attorneys' fees, as a result of Defendant's failure to pay

      Plaintiffs and others similarly situated lawful overtime compensation for hours in excess

      of forty (40) hours per week.
                                                                                                  Marshall
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                                                             This   case assigned to District Judge---=-==
                                                                                    Kearney
                                                             and to Magistrate Judge,-~.,__ _ _ _ __


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       2.     Upon information and belief, for at least three (3) years prior to the filing of

this Complaint, Defendant has willfully and intentionally committed violations of the FLSA

as described, infra.

                            II.     JURISDICTION AND VENUE

       3.     The United States District Court for the Eastern District of Arkansas has

subject matter jurisdiction over this suit under the provisions of 28 U.S.C. § 1331 because

this suit raises federal questions under the FLSA.

       4.     Plaintiffs' claims under the AMWA form part of the same case or controversy

and arise out of the same facts as the FLSA claims alleged in this Complaint. Therefore,

this Court has supplemental jurisdiction over Plaintiffs' AMWA claims pursuant to 28

U.S.C. § 1367(a).

       5.     Defendant conducts business within the State of Arkansas.

       6.     Venue lies properly within this Court under 28 U.S.C. § 1391(b)(1) and

(c)(2), because the State of Arkansas has personal jurisdiction over Defendant, and

Defendant therefore "resides" in Arkansas.

       7.     Plaintiffs were employed by Defendant at its facility in Conway.

       8.     The acts alleged in this Complaint had their principal effect within the

Central Division of the Eastern District of Arkansas, and venue is proper in this Court

pursuant to 28 U.S.C. § 1391.

                                   Ill.    THE PARTIES

       9.     Plaintiff Vicki Causey ("Causey") is a citizen of the United States and a

resident and domiciliary of Faulkner County.




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        10.    Plaintiff Alesha Arnold ("Arnold") is a citizen of the United States and a

resident and domiciliary of Faulkner County.

        11.    Defendant is a bank, registered to do business in Arkansas.

        12.     Defendant's registered agent for service is Greg McKinney, at P.O. Box

8811 , Little Rock, Arkansas 72231 .

        13.     Defendant maintains a website at https://www.ozk.com/personal/.

                               IV.       FACTUAL ALLEGATIONS

        14.     Plaintiffs repeat and re-allege all the preceding paragraphs of this Complaint

as if fully set forth in this section.

        15.    Within the three years preceding the filing of this Complaint, Defendant has

continuously employed at least four employees.

        16.     Defendant employs two or more individuals who engage in interstate

commerce or business transactions, or who produce goods to be transported or sold in

interstate commerce, or who handle, sell, or otherwise work with goods or materials that

have been moved in or produced for interstate commerce.

        17.     Defendant's annual gross volume of sales made or business done is not

less than $500,000.00 (exclusive of excise taxes at the retail level that are separately

stated) in each of the three years preceding the filing of the Original Complaint.

        18.     Defendant's primary business is providing banking services to its

customers.

        19.    At all times material herein, Plaintiffs and those similarly situated have been

entitled to the rights, protections, and benefits provided under the FLSA.




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      20.    At all times material herein, Plaintiffs and those similarly situated have been

classified or should have been classified by Defendant as non-exempt from the overtime

requirements of the FLSA, 29 U.S.C. § 207, and theAMWA, AC.A.§ 11-4-211.

      21.    Plaintiff Causey worked for Defendant in management from 2003 until 2006,

again as a teller and a customer service representative from April of 2007 until August of

2007, as a salaried branch manager from August of 2007 until December of 2017, as an

hourly assistant manager from December of 2017 until March of 2018, and as a salaried

assistant manager from March of 2018 until February of 2019.

      22.    Plaintiff Arnold worked for Defendant as a customer service representative

from November of 2005 until January of 2015, as an assistant manager from January of

2015 until August of 2016, as a salaried branch manager from August of 2016 until

December of 2017, as an hourly assistant manager from December of 2017 until March

of 2018, and as a salaried assistant manager from March of 2018 until February of 2019.

      23.    At all relevant times herein, Defendant directly hired assistant managers to

work on its behalf, paid them wages and benefits, controlled their work schedules, duties,

protocols, applications, assignments and employment conditions, and kept at least some

records regarding their employment.

      24.    As assistant managers, Plaintiffs performed duties on Defendant's behalf

such as opening new accounts, acting as tellers and running drawers, completing reports,

making sales calls, tracking employee attendance, and representing the bank at

community meetings and events.

      25.    Plaintiffs and similarly situated assistant managers regularly worked over

forty hours per week.

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        26.   While Plaintiffs were classified as non-exempt from the overtime

requirements of the FLSA working as hourly assistant managers for Defendant, they

regularly worked hours for which they were not paid. Specifically, Plaintiffs were

sometimes required to attend community meetings and events off the clock in the

evenings.

        27.   Hours that Plaintiffs spent representing the bank at these meetings

subsequently went unrecorded and uncompensated by Defendant.

        28.   Because Plaintiffs worked hours which went uncompensated, Defendant

failed to pay Plaintiff a lawful overtime premium for all hours worked over forty (40) each

week.

        29.   Defendant knew or should have known that Plaintiffs were working

additional hours off-the-clock for which they were not compensated.

        30.   As salaried assistant managers, Plaintiffs and similarly situated employees

performed the same duties that they did as hourly assistant managers.

        31.   Despite the fact that Plaintiffs' job duties had not changed, Defendant

decided to classify Plaintiffs as exempt from the overtime requirements of the FLSA and

pay them a salary instead of hourly pay.

        32.   As salaried assistant managers, Plaintiffs and similarly situated employees

did not have the authority to hire or fire any other employee, nor were their

recommendations for hiring or firing given particular weight, nor did they exercise

independent judgment as to matters of significance.

        33.   Plaintiffs and similarly situated employees did not manage the enterprise or

a customarily recognized department or subdivision of the enterprise.

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       34.    As salaried assistant managers, Plaintiffs and similarly situated employees

regularly worked in excess of forty (40) hours per week.

       35.    Defendant did not pay Plaintiffs and similarly situated employees one and

one-half times their regular rate of pay for hours worked over forty (40) per week when

they were salaried assistant managers.

       36.    At all relevant times herein, Defendant has deprived Plaintiffs and similarly

situated employees of regular wages and overtime compensation for all of the hours

worked over forty (40) per week.

       37.    Defendant knew or showed reckless disregard for whether its actions

violated the FLSA.

                     V.    REPRESENTATIVE ACTION ALLEGATIONS

       45.    Plaintiffs repeat and re-allege all previous paragraphs of this Complaint as

though fully incorporated in this section.

       46.    At all relevant times, Plaintiffs and all others similarly situated have been

entitled to the rights, protections and benefits provided by the FLSA.

       47.    Plaintiffs bring their claims for relief for violation of the FLSA as a collective

action pursuant to Section 16(b) of the FLSA, 29 U.S.C. § 216(b), on behalf of all persons

who were, are, or will be employed by Defendant as similarly situated salaried employees

at any time within the applicable statute of limitations period, who are entitled to payment

of the following types of damages:

       A.     Overtime premiums for all hours worked in excess of forty per week;

       8.     Liquidated damages; and

       C.     The costs of this action, including attorney's fees.

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         48.   Plaintiffs propose the following collective under the FLSA:

               All salaried assistant managers in the past three years.

         49.   In conformity with the requirements of FLSA Section 16(b), Plaintiffs have

filed or will soon file written Consents to Join this lawsuit.

         50.   The relevant time period dates back three years from the date on which

Plaintiffs' Original Complaint-Collective Action was filed herein and continues forward

through the date of judgment pursuant to 29 U.S.C. § 255(a), except as set forth herein

below.

         51.   The proposed FLSA collective members are similarly situated in that they

share these traits:

         52.   They were misclassified as salaried employees;

         53.   They were not paid proper overtime wages as required by the FLSA;

         54.   They worked more than 40 hours in at least one week; and

         55.   They had substantially similar job duties, requirements, and pay provisions.

         56.   Plaintiffs are unable to state the exact number of the class but believe that

there are at least ten (10) other employees who worked as assistant managers and were

misclassified as salaried employees.

         57.   The names and physical and mailing addresses of the probable FLSA

collective action plaintiffs are available from Defendant, and notice should be provided to

the probable FLSA collective action plaintiffs via first class mail to their last known physical

and mailing addresses as soon as possible.

         58.   The email addresses of many of the probable FLSA collective action

plaintiffs are available from Defendant, and notice should be provided to the probable

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FLSA collective action plaintiffs via email to their last known email address as soon as

possible.

       59.    Defendant's actions in denying overtime wages to Plaintiffs and all other

similarly situated employees were intentional and constitute a willful violation of the FLSA.

                            VI.    FIRST CLAIM FOR RELIEF
                         (Individual Claims for FLSA Violations)

       38.    Plaintiffs repeat and re-allege all previous paragraphs of this Complaint as

though fully set forth herein.

       39.    Plaintiffs assert these claims for damages and declaratory relief pursuant to

the FLSA, 29 U.S.C. § 201, et seq.

       40.    At all relevant times, Defendant has been, and continues to be, an

enterprise engaged in commerce within the meaning of the FLSA, 29 U.S.C. § 203.

       41.    29 U.S.C. §§ 206 and 207 require any enterprise engaged in commerce to

pay a minimum wage for all hours worked up to 40 in one week and to pay 1.5x their

regular wages for all hours worked over 40, unless an employee meets certain exemption

requirements of 29 U.S.C. § 213 and all accompanying DOL regulations.

       A.     Hourly Assistant Managers

       42.    When Plaintiffs worked as hourly assistant managers, Defendant classified

Plaintiffs as non-exempt from the requirements of the FLSA.

       43.    Defendant failed to pay Plaintiffs for all hours worked, including one and

one-half times their regular rates for all hours worked in excess of forty hours per week.

       44.    Defendant knew or should have known that its actions violated the FLSA.

       45.    Defendant's conduct and practices, as described above, were willful.



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           46.    By reason of the unlawful acts alleged herein, Defendant is liable to

Plaintiffs for monetary damages, liquidated damages and costs, including reasonable

attorney's fees provided by the FLSA for all violations which occurred beginning at least

three (3) years preceding the filing of Plaintiffs' initial complaint, plus periods of equitable

tolling.

           4 7.   Defendant has not acted in good faith nor with reasonable grounds to

believe their actions and omissions were not a violation of the FLSA, and, as a result

thereof, Plaintiffs are entitled to recover an award of liquidated damages in an amount

equal to the amount of unpaid overtime premium pay described above pursuant to

Section 16(b) of the FLSA, 29 U.S.C. § 216(b).

           48.    Alternatively, should the Court find that Defendant acted in good faith in

failing to pay Plaintiffs as provided by the FLSA, Plaintiffs are entitled to an award of

prejudgment interest at the applicable legal rate.

           B.     Salaried Assistant Manager

           49.    When Plaintiffs worked as salaried assistant managers, Defendant

misclassified Plaintiffs as exempt from the requirements of the FLSA.

           50.    Despite the entitlement of Plaintiffs to overtime payments under the FLSA,

Defendant failed to pay Plaintiffs an overtime rate of one and one-half times their regular

rate of pay for all hours worked over forty (40) in each week.

           51.    Defendant knew or should have known that its actions violated the FLSA.

           52.    Defendant's conduct and practices, as described above, were willful.

           53.    By reason of the unlawful acts alleged herein, Defendant is liable to

Plaintiffs for monetary damages, liquidated damages and costs, including reasonable

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attorney's fees provided by the FLSA for all violations which occurred beginning at least

three (3) years preceding the filing of Plaintiffs' initial complaint, plus periods of equitable

tolling.

           54.   Defendant has not acted in good faith nor with reasonable grounds to

believe their actions and omissions were not a violation of the FLSA, and, as a result

thereof, Plaintiffs are entitled to recover an award of liquidated damages in an amount

equal to the amount of unpaid overtime premium pay described above pursuant to

Section 16(b) of the FLSA, 29 U.S.C. § 216(b).

           55.   Alternatively, should the Court find that Defendant acted in good faith in

failing to pay Plaintiffs as provided by the FLSA, Plaintiffs are entitled to an award of

prejudgment interest at the applicable legal rate.

                            VII.   SECOND CLAIM FOR RELIEF
                       (Collective Action Claim for FLSA Violations)

           56.   Plaintiffs repeat and re-alleges all previous paragraphs of this Complaint as

though fully set forth herein.

           57.   Plaintiffs assert this claim for damages and declaratory relief on behalf of all

similarly situated employees pursuant to the FLSA, 29 U.S.C. § 201, et seq.

           58.   At all relevant times, Defendant has been, and continues to be, an

enterprise engaged in commerce within the meaning of the FLSA, 29 U.S.C. § 203.

           59.   29 U.S.C. §§ 206 and 207 require any enterprise engaged in commerce to

pay all employees a minimum wage for all hours worked up to 40 in one week and to pay

1.5x their regular wages for all hours worked over forty (40) in a week, unless an

employee meets certain exemption requirements of 29 U.S.C. § 213 and all

accompanying Department of Labor regulations.
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       60.    When Plaintiffs and other similarly situated employees worked as salaried

assistant managers, Defendant misclassified Plaintiffs and other similarly situated

employees as exempt from the overtime provisions of the FLSA.

       61.    Despite the entitlement of Plaintiffs to overtime payments under the FLSA,

Defendant failed to pay Plaintiffs an overtime rate of one and one-half times their regular

rate of pay for all hours worked over forty (40) in each week.

       62.    Defendant knew or should have known that its actions violated the FLSA.

       63.    Defendant's conduct, as described above, has been willful.

       64.    By reason of the unlawful acts alleged herein, Defendant is liable to

Plaintiffs and all similarly situated employees for monetary damages, liquidated damages

and costs, including reasonable attorney's fees provided by the FLSA for all violations

which occurred beginning at least three (3) years preceding the filing of Plaintiffs' initial

complaint, plus periods of equitable tolling.

       65.    Defendant has not acted in good faith nor with reasonable grounds to

believe its actions and omissions were not a violation of the FLSA, and, as a result thereof,

Plaintiffs and similarly situated employees are entitled to recover an award of liquidated

damages in an amount equal to the amount of unpaid overtime premium pay described

above pursuant to Section 16(b) of the FLSA, 29 U.S.C. § 216(b).

       66.    Alternatively, should the Court find that Defendant acted in good faith in

failing to pay Plaintiffs and the collective members as provided by the FLSA, they are

entitled to an award of prejudgment interest at the applicable legal rate.




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                              VIII. THIRD CLAIM FOR RELIEF
                          (Individual Claims for AMWA Violations)

           67.   Plaintiffs repeat and re-allege all previous paragraphs of this Complaint as

though fully set forth herein.

           68.   Plaintiffs assert this claim for damages and declaratory relief pursuant to

the AMWA, Ark. Code Ann. §§ 11-4-201, et seq.

           69.   At all relevant times, Defendant was Plaintiffs' "employer" within the

meaning of the AMWA, Ark. Code Ann.§ 11-4-203(4).

           70.   Sections 210 and 211 of theAMWA require employers to pay all employees

a minimum wage for all hours worked, and to pay one and one-half times regular wages

for all hours worked over forty hours in a week, unless an employee meets the exemption

requirements of 29 U.S.C. § 213 and accompanying Department of Labor regulations.

           A.    Hourly Assistant Managers

           71.   When Plaintiffs worked as hourly assistant managers, Defendant classified

Plaintiffs as non-exempt from the requirements of the AMWA.

           72.   Defendant failed to pay Plaintiffs for all hours worked, including one and

one-half times their regular rates for all hours worked in excess of forty hours per week.

           73.   Defendant knew or should have known that its actions violated the AMWA.

           74.   Defendant's conduct and practices, as described above, were willful.

           75.   By reason of the unlawful acts alleged herein, Defendant is liable to

Plaintiffs for monetary damages, liquidated damages and costs, including reasonable

attorney's fees provided by the FLSA for all violations which occurred beginning at least

three (3) years preceding the filing of Plaintiff's initial complaint, plus periods of equitable

tolling.
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           76.   Defendant has not acted in good faith nor with reasonable grounds to

believe their actions and omissions were not a violation of the AMWA, and, as a result

thereof, Plaintiffs are entitled to recover an award of liquidated damages in an amount

equal to the amount of unpaid overtime premium pay described above pursuant to

Section 16(b) of the FLSA, 29 U.S.C. § 216(b).

           77.   Alternatively, should the Court find that Defendant acted in good faith in

failing to pay Plaintiffs as provided by the AMWA, Plaintiffs are entitled to an award of

prejudgment interest at the applicable legal rate.

           B.    Salaried Assistant Manager

           78.   When Plaintiffs worked as salaried assistant managers, Defendant

misclassified Plaintiffs as exempt from the requirements of the AMWA.

           79.   Despite the entitlement of Plaintiffs to overtime payments under the AMWA,

Defendant failed to pay Plaintiffs an overtime rate of one and one-half times their regular

rate of pay for all hours worked over forty (40) in each week.

           80.   Defendant knew or should have known that its actions violated the AMWA.

           81.   Defendant's conduct and practices, as described above, were willful.

           82.   By reason of the unlawful acts alleged herein, Defendant is liable to

Plaintiffs for monetary damages, liquidated damages and costs, including reasonable

attorney's fees provided by the FLSA for all violations which occurred beginning at least

three (3) years preceding the filing of Plaintiffs' initial complaint, plus periods of equitable

tolling.

           83.   Defendant has not acted in good faith nor with reasonable grounds to

believe their actions and omissions were not a violation of the AMWA, and, as a result

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thereof, Plaintiffs are entitled to recover an award of liquidated damages in an amount

equal to the amount of unpaid overtime premium pay described above pursuant to

Section 16(b) of the FLSA, 29 U.S.C. § 216(b).

       84.     Alternatively, should the Court find that Defendant acted in good faith in

failing to pay Plaintiffs as provided by the AMWA, Plaintiffs are entitled to an award of

prejudgment interest at the applicable legal rate.

                               IX.    PRAYER FOR RELIEF

       WHEREFORE, premises considered, Plaintiffs Vicki Causey and Alesha Arnold,

each individually and on behalf of all others similarly situated, respectfully pray that

Defendant be summoned to appear and to answer this Complaint and for declaratory

relief and damages as follows:

       A.      Declaratory judgment that Defendant's practices alleged in this Complaint

violate the FLSA, the AMWA, and their related regulations;

       B.      Certification of a collective under Section 216 of the FLSA of all individuals

similarly situated, as further defined in any motion for the same;

       C.      Judgment for damages suffered by Plaintiffs and all others similarly situated

for all unpaid overtime compensation under the FLSA, the AMWA and their related

regulations;

       D.      Judgment for liquidated damages owed to Plaintiffs and all others similarly

situated pursuant to the FLSA, the AMWA, and their related regulations;

       E.      An order directing Defendant to pay Plaintiffs and all others similarly

situated prejudgment interest, a reasonable attorney's fee and all costs connected with

this action; and

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F.   Such other and further relief as this Court may deem just and proper.

                                          Respectfully submitted,

                                         VICKI CAUSEY and ALESHA ARNOLD,
                                         Each Individually and on Behalf of All
                                         Others Similarly Situated, PLAINTIFFS

                                         SANFORD LAW FIRM, PLLC
                                         One Financial Center
                                         650 South Shackleford Road, Suite 411
                                         Little Rock, Arkansas 72211
                                         Telephone: (501) 221-0088
                                         Facsimil : (88 787-2040




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